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Case 1:21-cv-21312-BB Document 7 Entered on FLSD Docket 04/16/2021 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

ADMIRAL INSURANCE COMPANY

 

Plaintiff(s)

Vv. Civil Action No. 1:21-CV-21312-BB

VPRART, LLC, Erin Gilbert and Patrick Gilbert,
Individually and as Natural Parents and Guardians of
their Minor Children, F.G., H.G., and P.G.

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Erin Gilbert
6792 Canaan RDG
Kingshill, VI 00850-9918
St. Croix County

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Rory Eric Jurman, Esq.

. Peter J. Lewis, Esq
Livia Viera, Esq.
Hinshaw & Culbertson, LLP
One East Broward Blivd., Suite 1010
Fort Lauderdale, FL 33301

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
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Case 1:21-cv-21312-BB Document 7 Entered on FLSD Docket 04/16/2021 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

 

ADMIRAL INSURANCE COMPANY

 

Plaintiffs)

v. Civil Action No. 1:21-CV-21312-BB

VPRART, LLC, Erin Gilbert and Patrick Gilbert,
Individually and as Natural Parents and Guardians of
their Minor Children, F.G., H.G., and P.G.

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Patrick Gilbert
6792 Canaan RDG
Kingshill, VI 00850-9918
St. Croix County

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Rory Eric Jurman, Esq.

Peter J. Lewis, Esq

Livia Viera, Esq.

Hinshaw & Culbertson, LLP —

One East Broward Bivd., Suite 1010
Fort Lauderdale, FL 33301

 

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Case 1:21-cv-21312-BB Document 7 Entered on FLSD Docket 04/16/2021 Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

ADMIRAL INSURANCE COMPANY

 

Plaintiff(s)

Vv. Civil Action No. 1:21-CV-21312-BB

VPRART,.LLC, Erin Gilbert and Patrick Gilbert,
Individually and as Natural Parents and Guardians of
their Minor Children, F.G., H.G., and P.G.

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) VPRART, LLC
Registered Agent
Kevin Tellado
5600 NW 72nd Ave, # 668132
Miami, FL 33166

A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are: Rory Eric Jurman, Esq.

. Peter J. Lewis, Esq
Livia Viera, Esq.
Hinshaw & Culbertson, LLP
One East Broward Blvd., Suite 1010
Fort Lauderdale, FL 33301

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Date:

 

 

Signature of Clerk or Deputy Clerk
